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     David H. Krieger, Esq.
 1
     Nevada Bar No. 9086
 2   HAINES & KRIEGER, LLC
     8985 S. Eastern Avenue, Suite 350
 3
     Henderson, Nevada 89123
 4   Phone: (702) 880-5554
     FAX: (702) 385-5518
 5   Email: dkrieger@hainesandkrieger.com
 6
     Attorneys for Plaintiff,
 7   HEATHER M. STANGEL
 8
                          UNITED STATES DISTRICT COURT
 9                             DISTRICT OF NEVADA
10
     HEATHER M. STANGEL,
11                                               Case No.: 2:18-cv-01508-RFB-PAL
                     Plaintiff,
12                                               NOTICE OF SETTLEMENT
13
           vs.                                   BETWEEN HEATHER M.
                                                 STANGEL AND CASH 1, LLC
14   CASH 1, LLC,                                                                       N
                                                                                        O
15
                       Defendant.                                                       T
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           NOTICE IS HERBY GIVEN that the dispute between HEATHER M.
19
     STANGEL (“Plaintiff”) and Defendant CASH 1, LLC (“CASH1”) has been
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21
     resolved on an individual basis. The parties anticipate filing a Stipulation for

22   Dismissal of the Action as to the named Plaintiff’s claims against CASH1, with
23
     Prejudice, within 60 days. Plaintiff requests that all pending dates and filing
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     requirements as to CASH1 be vacated and that the Court set a deadline sixty (60)
 1

 2   from present for filing a Dismissal as to CASH1.
 3
           Dated: August 30, 2018
 4
                                                  /s/ David H. Krieger, Esq.
 5                                                David H. Krieger, Esq.
 6
                                                  Attorneys for Plaintiff
 7                                                HEATHER M. STANGEL
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